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                     EXHIBIT A
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               DEPARTMENT OF HEALTH & HUMAN SERVICES

                                                                                                   Food and Drug Administration
                                                                                                   Rockville, MD 20857
          ANDA 076596




          Marc Goshko
          Vice President
          Product and Patent Strategy
          Legal Affairs
          Teva Pharmaceuticals – Americas
          425 Privet Road, PO Box 1005
          Horsham PA 19044-8005


          Dear Mr. Goshko:

          This is in further response to your letter of February 29, 2012 (February 29 Letter), addressed to
          David T. Read of the Food and Drug Administration (FDA), regarding abbreviated new drug
          application (ANDA) 076596 of Teva Pharmaceuticals USA., Inc., for Modafinil tablets, 100 mg
          and 200 mg. In your February 29, 2012 Letter you requested that FDA “confirm” that Teva is
          the sole first applicant entitled to 180-day exclusivity for generic modafinil tablets.

          In a letter dated March 28, 2012, the agency sent you a preliminary response, noting that this
          matter involves novel and complicated legal and factual considerations, and a decision by the
          agency would be premature at that time. Teva’s February 29 Letter addresses just one pertinent
          issue regarding 180-day exclusivity under section 505(j)(5)(B)(iv) of the Federal Food, Drug,
          and Cosmetic Act (the Act) Act1 for ANDAs referencing PROVIGIL® Tablets. Our letter of
          March 28 noted other related issues that needed to be considered before any meaningful decision
          on Teva’s eligibility for exclusivity could be made. Having carefully considered these issues,
          and because FDA is ready to act on a pending ANDA that has the potential to be delayed from
          approval only by Teva’s eligibility for 180-day exclusivity, FDA is in a position to provide you
          the following information in response to your February 29 Letter.

          New drug application (NDA) 020717 for PROVIGIL Tablets is held by Cephalon, Inc., which as
          of October 14, 2011, became a wholly owned subsidiary of Teva Pharmaceutical Industries Ltd.2
          Your February 29 Letter sets forth information that you state only recently came to Teva’s
          attention by virtue of the acquisition of Cephalon and access to Cephalon’s records. February 29
          Letter, at 1. The information from these records pertains to the timing of Teva’s certifications in
          ANDA 076596 to the two patents currently listed for PROVIGIL Tablets in FDA’s publication
          Approved Drug Products with Therapeutic Equivalence Evaluations, (the Orange Book).


          1
           Because your ANDA was filed before the date of enactment of the Medicare Prescription Drug, Improvement and
          Modernization Act (MMA) (Public Law 108-173) on December 8, 2003, references herein to the 180-day
          exclusivity provision are to the section of the Act as in effect prior to December 8, 2003. See MMA § 1102(b)(1).
          2
            Teva Pharmaceuticals USA lists “Provigil® (modafinil) Tablets” as one of “Teva’s Brand Products.” See
          http://www.tevausa.com/default.aspx?pageid=3452&audience=hcp.



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          As described in more detail below, we are in basic agreement with the facts as set forth in the
          February 29 Letter and, in particular, we agree with your conclusion that –
                   [N]o applicant other than Teva notified Cephalon of Paragraph IV certifications to
                   both listed patents for PROVIGIL on the two dates that respectively would have
                   corresponded to the first valid submission of such certifications to, and receipt of
                   such certifications by, the Agency.

          February 29 Letter, at 2 (emphasis in original). For the reasons discussed below, we also
          agree with your conclusion that Teva alone has 180-day generic drug exclusivity under
          section 505(j)(5)(B)(iv) of the Act. This claim to sole exclusivity arose when Teva
          became a first applicant with respect to a patent submitted to FDA and certified to by
          Teva on December 14, 2007.

          Furthermore, we conclude that Teva’s 180-day generic drug exclusivity was triggered on
          March 30, 2012, when Teva began commercial marketing of an authorized generic of
          PROVIGIL (modafinil) Tablets, and that this exclusivity period will expire on September
          26, 2012.

                   I.       Teva Alone Has 180-Day Generic Drug Exclusivity for Modafinil
                            Tablets, 100 mg and 200 mg

                   A.       Factual Background

          The NDA for PROVIGIL tablets was approved on December 24, 1998 and was given five-year
          new chemical entity exclusivity.3 No patent was submitted with Cephalon’s submission of the
          PROVIGIL® application. Upon approval, no patents were listed for PROVIGIL. In 2001,
          United States Patent No. RE37,516 (the ‘516 patent) was listed for PROVIGIL in the Orange
          Book).4 The first date on which ANDAs referencing PROVIGIL tablets were eligible for
          submission was the NCE-1 date, December 24, 2002. On that date, multiple ANDAs referencing
          PROVIGIL tablets and containing paragraph IV certifications to the ‘516 patent were submitted.
          According to information made public by the Federal Trade Commission (FTC), companies
          submitting ANDAs for modafinil tablets on that date include:
                  Teva (Teva)

                  Ranbaxy Pharmaceuticals Inc. (Ranbaxy)

                  Mylan Pharmaceuticals Inc. (Mylan)

                  Barr Pharmaceuticals (Barr)

          3
            For a drug with five-year exclusivity, no ANDA may be submitted before the expiration of five years from the date
          of approval, except that an ANDA may be submitted after the expiration of four years (the NCE-1 date) if it
          contains a paragraph IV certification to one or more of the listed patents. See section 505(j)(5)(F)(ii) of the Act. For
          PROVIGIL tablets, the NCE-1 date was December 24, 2002.
          4
            The ‘516 patent was a reissue of U.S. Patent No. 5,618,845, which was listed in the Orange Book for PROVIGIL®
          in 1999. Also listed in 1999 was U.S. Patent No. 4,927,855 which expired on May 22,2007 and is therefore not
          relevant to the exclusivity analysis.

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          In 2003, Cephalon sued Teva, Ranbaxy, Mylan, and Barr for patent infringement of the ‘516
          patent. All four ANDAs were tentatively approved in the 2004-2005 timeframe. Teva’s was the
          last to be tentatively approved, on December 16, 2005.5 In late 2005 and early 2006, the parties
          entered into agreements under which Cephalon dismissed its patent infringement suit and each of
          the ANDA applicants agreed to refrain from marketing its generic products until April 6, 2012.
          The FTC investigated these agreements as potentially anticompetitive.6

          On December 14, 2007, Cephalon submitted U.S. Patent No. 7,297,346 (the ‘346 patent), a later-
          obtained patent, to its PROVIGIL NDA. Teva submitted a paragraph IV certification to the ‘346
          patent on December 14, 2007, and, in doing so, qualified as a first applicant to this later-listed
          patent. As indicated in the February 29 Letter, Teva acquired the NDA holder for PROVIGIL
          tablets, Cephalon, in 2011 (which acquisition apparently was finalized on October 14, 2011).7
          Under the Cephalon NDA, Teva currently markets modafinil both as PROVIGIL tablets and,
          separately, as an authorized generic.8

          The FTC reviewed Teva’s purchase of Cephalon, and, under a draft FTC decision and order,
          Teva has agreed to provide to Par Pharmaceuticals adequate supplies to market an authorized
          generic modafinil product for one year and, at Par’s option, for two years.9 The parties familiar
          with modafinil ANDAs appear to have operated under the assumption that there are multiple
          ANDAs that qualify for the 180-day exclusivity for modafinil. FTC expressly referenced this
          assumption in the December 2011 press release and Federal Register notice announcing the
          availability of the draft decision and order.10

                   B.       Statutory Background

          The statutory provision governing 180-day exclusivity states:

                   If the application contains a certification described in subclause IV of paragraph
                   (j)(2)(A)(vii) and is for a drug for which a previous application has been
                   submitted under this subsection [containing] such a certification, the application
                   shall be made effective not earlier than one hundred and eighty days after -


          5
            The basis of the tentative approval was the unexpired period described in sections 505(j)(5)(B)(iii) and
          505(j)(5)(F)(ii) of the Act, i.e., 7½ years from the date of approval of Provigil, which would be June 24, 2006.
          6
            See FTC Press Release: FTC Requires Sale of Generic Cancer Pain Drug and Muscle Relaxant as Conditions of
          Teva’s $6.8 Billion Acquisition of Cephalon, at 1 (Oct. 7, 2011), available at
          http://www ftc.gov/opa/2011/10/tevacephalon.shtm.
          7
            See, e.g., London Stock Exchange Aggregated Regulatory News Service, Immupharma PLC Preliminary Results,
          at 1 (Mar. 27, 2012).
          8
            See note 2, above. See also Teva Press Release March 30, 2012 announcing Teva’s launch of an authorized
          generic for modafinil tablets, available at http://www.tevapharm.com/Media/News/Pages/2012/1678505.aspx..
          9
            See In re. Teva Pharmaceuticals Industries Ltd. and Cephalon, Inc., Decision and Order (Draft), at 33, available at
          http://www ftc.gov/os/caselist/1110166/111007tevacephalondo.pdf.
          10
             See FTC Press Release: FTC Requires Sale of Generic Cancer Pain Drug and Muscle Relaxant as Conditions of
          Teva’s $6.8 Billion Acquisition of Cephalon, available at http://www.ftc.gov/opa/2011/10/tevacephalon.shtm; Teva
          Pharmaceutical Industries Ltd. and Cephalon, Inc.; Analysis of Agreement Containing Consent Orders To Aid
          Public Comment, 76 Fed. Reg. 64945, 64947 (Teva, Ranbaxy, Mylan and Barr “all filed on the first day that the
          FDA would accept such an application, making them all eligible for the 180-day marketing exclusivity period
          provided under the Hatch-Waxman Act. Subsequently, each of the companies agreed with Cephalon to refrain from
          marketing generic Provigil until April 2012”).

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                            (I) the date the Secretary receives notice from the applicant under the
                            previous application of first commercial marketing of the drug under the
                            previous application, or

                            (I) the date of a decision of a court in action described in clause (ii)
                            holding the patent which is the subject of the certification to be invalid or
                            not infringed,

                   whichever is earlier.

          Section 505(j)(5)(B)(iv).11

          The 180-day exclusivity provisions of the Act give the first ANDA applicant to submit a
          paragraph IV certification challenging a patent an incentive in the form of the opportunity to be
          the only generic drug manufacturer to compete with the innovator for a 180-day period. See
          Section 505(j)(5)(B)(iv). The statute addresses the effect of an ANDA’s exclusivity on other
          ANDAs; it delays the approval of an ANDA containing a paragraph IV certification for a drug
          “for which a previous [ANDA] has been submitted [containing a paragraph IV] certification”
          until 180 days after the exclusivity is triggered. Id.

                   C.       Development of FDA’s Shared 180-Day Exclusivity Approach

          One theory under which applicants other than Teva may have believed they were eligible for
          exclusivity was under a “shared exclusivity” theory. In an August 2, 1999 response to petitions
          from two generic drug firms addressing the exclusivity issue associated with the approval of
          ANDAs for cisplatin, FDA stated that, at least with respect to the situation presented in the
          citizen petitions, the regulations governing 180-day exclusivity should be interpreted to award
          such exclusivity on a patent-by-patent basis.12 That is, eligibility for 180-day exclusivity would
          be based on which company submitted the first paragraph IV certification for each listed patent.
          Therefore, in cases where multiple patents are listed, multiple ANDA applicants may
          simultaneously be eligible for 180-day exclusivity.

          The agency has recognized, however, that with eligibility for exclusivity determined on a patent-
          by-patent basis, the agency could be prevented from approving ANDAs referencing a particular
          drug product by multiple conflicting exclusivities (“mutually blocking exclusivity”).13 An
          exclusivity stand-off (i.e., A’s exclusivity blocks approval of B and B’s exclusivity blocks
          approval of A) whereby each ANDA applicant’s approval is delayed indefinitely would be so at

          11
             The referenced provision governing paragraph IV certifications at section 505(j)(2)(a)(vii)(IV) states that an
          ANDA must contain: “a certification, in the opinion of the applicant and to the best of his knowledge, with respect
          to each patent which claims the listed drug referred to in clause (i) or which claims a use for such listed drug for
          which the applicant is seeking approval under this subsection and for which information is required to be filed under
          subsection (b) or (c)… (IV) that such patent is invalid or will not be infringed by the manufacture, use, or sale of the
          new drug for which the application is submitted.”
          12
             See Letter fr. J. Woodcock to R. Green, S. Sklar, and K.Beardsley, FDA Docket No. 99P-1271/PSA1 and PSA2,
          at 4 (Aug. 2, 1999).
          13
            See generally, Proposed Rule: 180-Day Generic Drug Exclusivity for Abbreviated New Drug Applications, 64
          Fed. Reg. 42873, 42875-76 (Aug. 6, 1999), withdrawn on unrelated grounds, Proposed rule; Withdrawal, 180-Day
          Generic Drug Exclusivity for Abbreviated New Drug Applications, 67 Fed. Reg. 66593, 66593 (Nov. 1, 2002).

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          odds with both the narrow purpose of the 180-day exclusivity provision, to reward the first
          ANDA applicant to challenge a listed patent,14 and the broader purpose of the Drug Price
          Competition and Patent Term Restoration Act of 1984 (hereafter “Hatch-Waxman Act”), to
          encourage generic competition, as to defeat the purpose of the generic drug provisions.15

          To avoid results that cannot be reconciled with the purposes of the 180-day exclusivity
          provisions, in particular, and the Hatch-Waxman Act, in general, the agency has taken an
          approach to “mutually blocking” 180-day exclusivities that both hews as closely as possible to
          statutory language and is consistent with congressional intent. When different applicants have
          submitted first paragraph IV certifications to different listed patents and thus become eligible for
          exclusivity as to different patents, but each applicant is blocked by a previous paragraph IV
          certification as to a patent to which it did not have the first paragraph IV certification, FDA will
          approve the ANDA for either of the applicants that qualifies for exclusivity as soon as it is
          otherwise eligible for approval. That is, if two or more applicants are each eligible for
          exclusivity based upon paragraph IV certifications to different patents and each is blocked by
          previous paragraph IV certifications on another patent to which it was not first to certify, FDA
          will conclude that neither application blocks approval of the other. Exclusivity for all of the
          ANDAs eligible for 180-day exclusivity as to any patent at that time will be shared, and it will be
          triggered by the earlier of either first commercial marketing of any first applicant or a court
          decision on any one of the patents that qualified any applicant for exclusivity. During that
          “shared” exclusivity period, FDA may approve any ANDA eligible for exclusivity, but no other
          ANDAs. If, however, there are multiple patents and there is an application that is not blocked by
          another applicant’s eligibility for exclusivity (because that applicant is a first filer on all of the
          relevant patents), that applicant would be entitled to sole exclusivity for the drug product at
          issue.16

                     D.       FDA’s Shared Exclusivity Approach Is Not Applicable In the Case of Modafinil
                              Tablets

          As noted above, there are currently two patents listed for PROVIGIL Tablets: the ‘516 patent,
          and the ‘346 patent. Each has a six-month period of pediatric exclusivity attached pursuant to
          section 505A of the act. These pediatric exclusivity periods expire on April 6, 2015, and May
          29, 2024, respectively.

          For the five years that preceded the submission of the ‘346 patent, it appeared that there were
          multiple first applicants for modafinil tablets who would be eligible for 180-day exclusivity , i.e.,
          14
               See, e.g., Mova Pharmaceutical Corp. v. Shalala, 140 F.3d 1060, 1075 (D.C. Cir. 1998).
          15
            We note that for ANDAs that are covered by the 2003 MMA amendments to the statute, this problem was
          rectified by Congress when it amended the statute to award exclusivity only to the first applicant to submit a
          paragraph IV certification to any patent listed for the drug product. See Section 505(j)(5)(B)((iv)(II)(bb)(defining
          “first applicant”). The issue of shared exclusivity discussed in this letter, therefore, applies only to ANDAs not
          subject to the 2003 MMA amendments.
          16
             The agency has confronted this situation at least once before, in the case of generic metformin extended-release
          tablets. In that case there was only one first-filer to all relevant patents. See ANDA 76-863 approval letter dated
          October 14, 2004. Barr Laboratories was the only applicant to be a first filer on the two patents that were not listed
          at the same time for that product.


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          Teva and the other applicants who submitted ANDAs containing paragraph IV certifications to
          the ‘516 patent on December 24, 2002. See, Guidance for Industry, 180-Day Exclusivity When
          Multiple ANDAs Are Submitted on the Same Day, July 2003.

          The situation changed, however, on December 14, 2007, when Cephalon listed the ‘346 patent.
          That same day, Teva submitted a paragraph IV certification to the ‘346 patent and sent
          notification to Cephalon. Aside from Teva, none of the other applicants who had submitted a
          paragraph IV certification to the ‘516 patent on December 24, 2002, also submitted a paragraph
          IV certification to the ‘346 patent on December 14, 2007. Teva, therefore, is uniquely positioned
          relative to other ANDA applicants for modafinil tablets. Although there are multiple first
          applicants with respect to both listed patents, only Teva is a first applicant as to both patents.
          FDA has only applied “shared exclusivity” when two applicants each have submitted paragraph
          IV certifications to two different patents, and one applicant was first to file a paragraph IV
          certification on one patent and the other was first to file on a different patent. The Agency has
          not extended shared exclusivity to a situation like the one at hand, where one applicant (in this
          case, Teva) was the only applicant to be among the first to file paragraph IV certifications to both
          listed patents. There are no “mutually blocking” 180-day exclusivities; Teva is not blocked by
          anyone else’s eligibility for 180-day exclusivity and is, therefore, the sole first applicant eligible
          for exclusivity for modafinil tablets.

          We therefore conclude that Teva alone has 180-day exclusivity for modafinil tablets.

          II.      Teva’s 180-Day Exclusivity Was Triggered with Teva’s Commercial
                   Marketing of an Authorized Generic on March 30, 2012

          Once we have determined that Teva, alone, is eligible for 180-day exclusivity for
          modafinil, we must consider whether that exclusivity has been triggered. As noted
          above, there are two events that can begin the running of (“trigger”) a first applicant’s
          180-day exclusivity period: either the date of a decision of a court holding the patent that
          is the subject of the paragraph IV certification to be invalid or not infringed, or the date
          the Secretary receives notice from the first applicant of first commercial marketing of the
          drug under the ANDA. It is the commercial marketing trigger that is the subject of this
          discussion.17




          17
             Two recent court actions are noted, however. In an October 31, 2011 Memorandum Opinion, the court
          determined that the ‘516 patent was invalid pursuant to the on-sale bar, for derivation, for obviousness, and for lack
          of a written description. The court also found the patent unenforceable due to inequitable conduct by Cephalon in
          its prosecution of the patent. Apotex v. Cephalon, Inc., Civil Action No. 06-2768, 2011 U.S. Dist. LEXIS 125859, at
          *85 (E.D. Pa. Oct. 31, 2011). In a March 28, 2012 Memorandum Opinion, the court further determined that
          manufacture of ANDA applicant Apotex, Inc.’s modafinil product will not infringe on the ‘516 patent. Apotex v.
          Cephalon, Inc., Civil Action No. 06-2768, 2012 U.S. Dist. LEXIS 43479, at *54 (E.D. Pa. Mar. 28, 2012). FDA
          just recently became aware of these decisions and is still reviewing them to determine whether one or the other
          satisfies the court decision trigger.



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          Following its acquisition of Cephalon on October 14, 2011, Teva immediately began marketing
          PROVIGIL under Cephalon’s NDA.18 On March 30, 2012, Teva announced the launch of an
          authorized generic version of modafinil tablets.19

          FDA has determined that Teva’s commercial marketing of an authorized generic version of
          modafinil triggered the running of its 180-day exclusivity. The agency addressed a very similar
          situation with respect to the drug nifedipine approximately eleven years ago. That case also
          involved the marketing of an authorized generic by a first applicant and the effect of such
          marketing on 180-day exclusivity. Teva (a subsequent applicant in that case), in a citizen
          petition submitted on August 9, 2000, stated its view that the marketing of an authorized generic
          by a first applicant eligible for 180-day exclusivity triggered the first applicant’s exclusivity.20
          In granting Teva’s petition, the agency stated that “FDA believes that Mylan’s [the first
          applicant’s] marketing of the Pfizer drug was commercial marketing that began the exclusivity
          period and that such an interpretation is fully consistent with the goals of Hatch-Waxman.” FDA
          response, at 7; February 6, 2001 (Docket No. 200P-1446). This interpretation was upheld in
          Mylan Pharmaceuticals, Inc. v. Thompson, 207 F. Supp. 2d 476 (N.D.W.Va. 2001).

          We do not believe any factual differences meaningfully distinguish the nifedipine
          decision from the case at hand. If anything, the argument that 180-day exclusivity has
          been triggered is stronger in this case than it was with nifedipine. In the case of
          nifedipine, the NDA holder and the authorized generic were not related corporate entities.
          In contrast, here the NDA holder, Cephalon, is wholly owned and controlled by Teva, the
          ANDA applicant who holds the sole exclusivity seat. With control of the marketing of
          PROVIGIL, and of an authorized generic, Teva has every reason not to pursue final
          approval of ANDA 076596 and not to market a “true” generic under that application.21
          Unless FDA finds here, as Teva successfully urged us to do in nifedipine, that marketing
          of an authorized generic triggers exclusivity, Teva has no incentive to trigger its
          exclusivity.22 If Teva does not trigger its exclusivity, that exclusivity will not run and all




          18
             We have considered finding that Teva’s marketing of PROVIGIL upon its acquisition of Cephalon triggered its
          180-day exclusivity, and believe that there is a strong argument for finding so. We have refrained from adopting
          that interpretation in this case, however, because that exclusivity, if it were triggered by Teva’s acquisition of
          Cephalon, would expire on April 11, 2012 and, given the multiple uncertainties in this case, Teva had no notice that
          FDA considered it to be running. Because of the potential for collusion between NDA holders and captive first
          generics, and the subversion of the statutory scheme that could result, the agency may in the future provide guidance
          on the effect of such a relationship between NDA holder and first applicant upon any claim for 180-day exclusivity.
          19
             See, http://ir.tevapharm.com/phoenix.zhtml?c=73925&p=irol-newsArticle&ID=1678505&highlight=
          20
             See Citizen Petition from Teva re: Nifedipine Extended Release Tablets, at 1-2; August 9, 2000 (Docket
          No. 2000P-1446).
          21
             Only within the last few days has Teva initiated any activity in pursuit of approval ANDA 076596. Teva made its
          first submission to its ANDA in over two years on April 2, 2012, following a letter from FDA dated March 28,
          2012, that noted, among other issues, that Teva had made no submissions to its ANDA since 2009 and questioned
          whether Teva was pursuing ANDA approval. We note that if FDA determines that a first applicant is “not actively
          seeking approval of its application”, that applicant will not maintain its eligibility for 180-day exclusivity.
          22
             It is informative to note how Congress, understanding the opportunities for mischief that such agreements can
          bring, addressed these kinds of arrangements when it passed the MMA in 2003. The MMA adopts the position that
          FDA took with respect to nifedipine and states that “commercial marketing of the listed drug” by any first applicant
          would trigger the 180-day exclusivity period. See the current Act, at section 505(j)(5)(B)(iv)(I).

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          subsequent ANDAs for modafinil will be blocked from approval until one or more of the
          relevant patents expires.23

          We conclude, therefore, that Teva triggered its 180-day exclusivity on March 30, 2012,
          when it began commercial marketing of an authorized generic of PROVIGIL (modafinil)
          Tablets. During this period, Teva will be able to obtain the benefits of sale of both the
          innovator and a generic forms of modafinil tablets. The 180-day exclusivity period will
          expire on September 26, 2012.

                   III.     Conclusion

          For the reasons set forth above, we conclude that Teva alone is entitled to 180-day
          generic drug exclusivity under section 505(j)(5)(B)(iv) of the Act. We also conclude that
          Teva’s 180-day generic drug exclusivity was triggered on March 30, 2012, when Teva
          launched an authorized generic of PROVIGIL (modafinil) Tablets, and that this
          exclusivity period will expire on September 26, 2012.

                                                                Sincerely,

                                                                {See appended electronic signature page}

                                                                Keith O. Webber, Ph.D.
                                                                Deputy Director
                                                                Office of Pharmaceutical Science
                                                                Center for Drug Evaluation and Research




          23
             As Teva itself noted in its Citizen Petition on nifedipine, “[i]t is universally accepted that the 180-day
          exclusivity clause was never intended to create opportunities for drug companies to indefinitely obstruct the
          market entry of generic drugs by entering into commercial arrangements which . . . prevent the 180-day
          period from ever being triggered.” See Citizen Petition from Teva re: Nifedipine Extended Release Tablets,
          at 4; August 9, 2000 (Docket No. 2000P-1446).


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     /s/
     ----------------------------------------------------
     ROBERT L WEST on behalf of KEITH O WEBBER
     04/04/2012
     Deputy Director, Office of Generic Drugs
     for Keith Webber, Ph.D.




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